              IN THE UNITED STATES DISTRICT COURT FOR THE
                     WESTERN DISTRICT OF OKLAHOMA

UNITED STATES OF AMERICA,                   )
                                            )
                      Plaintiff,            )
                                            )
v.                                          )   Case No. CR-21-190-D
                                            )
EDDIE WAYNE MORRISON,                       )
                                            )
                      Defendant.            )

                                            ORDER

       Before the Court is the Report and Recommendation [Doc. No. 37] issued by United

States Magistrate Judge Suzanne Mitchell. Judge Mitchell held a competency hearing on

November 2, 2022 and her Report recommends that the Court find that Defendant is

competent to stand trial. The Report indicates that Defendant, through counsel, waived his

right to file an objection to the Report.

       The Court has reviewed the Forensic Psychological Report [Doc. No. 34] of Dr.

Sarah Hampton opining that Defendant is competent to proceed. The Court also notes that

neither Defendant nor the government contest Dr. Hampton’s report. Accordingly, the

Court finds that a preponderance of the evidence establishes that “the defendant has

recovered to such an extent that he is able to understand the nature and consequences of

the proceedings against him and to assist properly in his defense.” 18 U.S.C.A. § 4241(e).

       The Court therefore ADOPTS the Report and Recommendation in its entirety and

finds Defendant competent. This case is set on the January 10, 2023 jury trial docket.
IT IS ORDERED this 8th day of November, 2022.




                                 TIMOTHY D. DeGIUSTI
                                 Chief United States District Judge
